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              Exhibit 3
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STMicroelectronics – Microprocessor Unit (MPU) Device (see
Product List at end for models)
Infringement of the ‘790 patent
Claim 1               Evidence
1. An interface for   The STMicroelectronics MPU device provides an
receiving data from interface for receiving data from an image
an image sensor       sensor having an imaging array and a clock
having an imaging     generator for transfer to a processor system.
array and a clock
generator for         For example, the STMicroelectronics MPU device
transfer to a         has a camera interface (e.g. that supports 8-bit
processor system      to 14-bit input signals) which enables an image
comprising:           sensor to be coupled to the MPU device. The
                      image sensor includes an imaging array and a
                      clock generator. An image processing subsystem
                      of the STMicroelectronics MPU device includes a
                      processor that processes image data. The
                      camera interface of the STMicroelectronics MPU
                      device receives image data from the image
                      sensor and transfers the image data to the
                      processor. The camera interface thereby enables
                      the transfer of image data between the image
                      sensor, which runs in a pixel clock domain, and
                      the image processing subsystem, which runs in a
                      processor clock domain.
a memory for          The STMicroelectronics MPU device provides a
storing imaging       memory for storing imaging array data and
array data and        clocking signals at a rate determined by the
clocking signals at a clocking signals.
rate determined by
the clocking          For example, the camera interface of the
signals;              STMicroelectronics MPU device includes a buffer
                      module that stores the image data that is
                      received from the image sensor. The buffer
                      module has control and clock signal inputs. The
                      buffer module clocks its internal and external
                      signals at a rate that is determined by the input
                      clock signals. This enables the buffer module to
                      store the image data at a rate that is in
                      accordance with the pixel clock domain of the
                      image sensor system.
a signal generator    The STMicroelectronics MPU device provides a
for generating a      signal generator for generating a signal for
signal for            transmission to the processor system in response
transmission to the to the quantity of data in the memory.


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processor system in
response to the      For example, the camera interface of the
quantity of data in  STMicroelectronics MPU device includes interface
the memory; and      functionality that generates a signal when the
                     buffer module has image data that is ready for
                     transmission to the processor. The signal
                     indicates that the buffer module has a frame or
                     sub-frame of image data for the processor.
a circuit for        The STMicroelectronics MPU device provides a
controlling the      circuit for controlling the transfer of the data
transfer of the data from the memory at a rate determined by the
from the memory at processor system.
a rate determined
by the processor     For example, the camera interface of the
system.              STMicroelectronics MPU device includes timing
                     and control functionality that controls the
                     transfer of image data from the buffer module to
                     the processor. The timing and control
                     functionality enable the image data to be
                     transferred at a rate determined by the
                     processor. This enables the processor to acquire
                     the image data at a rate that is in accordance
                     with the processor clock domain.


Product List

STM32MP1 Series MPUs:
STM32MP151A, STM32MP151C, STM32MP151D, STM32MP151F
STM32MP153A, STM32MP153C, STM32MP153D, STM32MP153F
STM32MP157A, STM32MP157C, STM32MP157D, STM32MP157F

References

[1] STM32MP151A
https://www.st.com/resource/en/datasheet/stm32mp151a.pdf

[2] STM32MP151C
https://www.st.com/resource/en/datasheet/stm32mp151c.pdf

[3] STM32MP151D
https://www.st.com/resource/en/datasheet/stm32mp151d.pdf

[4] STM32MP151F
https://www.st.com/resource/en/datasheet/stm32mp151f.pdf



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[5] STM32MP153A
https://www.st.com/resource/en/datasheet/stm32mp153a.pdf

[6] STM32MP153C
https://www.st.com/resource/en/datasheet/stm32mp153c.pdf

[7] STM32MP153D
https://www.st.com/resource/en/datasheet/stm32mp153d.pdf

[8] STM32MP153F
https://www.st.com/resource/en/datasheet/stm32mp153f.pdf

[9] STM32MP157A
https://www.st.com/resource/en/datasheet/stm32mp157a.pdf

[10] STM32MP157C
https://www.st.com/resource/en/datasheet/stm32mp157c.pdf

[11] STM32MP157D
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[12] STM32MP157F
https://www.st.com/resource/en/datasheet/stm32mp157f.pdf




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